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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OT MATNE

L'-NITED STATES OF AMERICA                       )
                                                 )
                 v.                              )       Crim. bio. l#]
                                                 )
DAVID PHILLIPS                                   )

                            AGRqEMENT TO PLEAP GUILTY
               (WITH STIPULATIONS. APPEAL WAIVER CARES ACT                        WAMR.
                            Al{D VERSION OFIHE OTTENSE}

          The United States of America, by and through Donald E. Clark, Acting United States

Attomey for the District of Maine, and Andrew lvfcCormack, Assistant {.lnited States Attorney,

and David Phillips {hereinafter "Defendant"), acting for himse}f and tkough his couasel, tr.uke

Rioux, Esquire, enter into the following Agreement based upon the promises and understandings

set forth below.


          t,      Guilt-r., PiealDisurissal of Counts. Delendant agrees to piead guilt"v to the


Information herein pursuant to Rule 1l of the Federal Rules of Criminal Procsdure tFed. R.

Crim. P.i, at the earliest opporrunity requested bi, the United States and provided by the Court.

The Infonnation charges Deiendant with Possession of Ammunition by a felon, in vir:lation         of

1B U.S.C. $     922(g)i1). In addition to pleading guilty, Detendant agrees not to contest the version

of the offense ser tbrth in this Agreement, to otherwise comply with all the terms of this

Agreement, and to be sentenced on the chruge to which he has agreed to plead guilty. Further,

 given the lapse of time since the date of his commission of the offense to which he is pleading

 guil6,   an<1the resulting impact of the Coronavirus Disease ?019        (COVID-I9) pandemic on the

 United States' abilit5r to prepare the case for triai. Defendant agrees that the United States wr:uld

 be substantially preiudiced by the withdrawal of his guilty'plea.
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                                                                                          his
       Z.        CARES Act Waiver. Defendant agrees that all court appearances: including
                                                                                       ("vTC"),
change af plea hearing and sentencing hearing ,rfiay proceed by
                                                                video-teleconference


so long as such appearaoces are authorized by the Ceneral Orders
                                                                 of this Coufi, rule, or statute'

                                                                      Code, and the Federal
Defendant understands that, under the Constitution, the United States

                                                                        the right to be
Rules of Criminal Procedure (including Rules 1l,32,and 43), he may have

                                                                                             with
physicalty present at these hearings. Defendant understands that right and, after consulting

                                                                                 also joins in
counsel. voluntarily agrees to waive it and to proceed remoteiy. Defense counsel

                                                                                               to,
this consent, agreement" and waiver. Specifically, this agreement includes, but is not limited

the following:

        a.       Detbndant consents under Section 15002(b) of the CARES Act to proceed

        with his change of plea hearing by VTC;

        b.        Defendant consents under Section 15002ib) of the CARES Act to proceed

        with his sentencing hearing by VTC: and

        c.        Defendant consents under 18 U.S.C. $ 3148 and Section 15002(b)of the

        CARES Acr to proceed with any hearing regarding alteged violations of his

        conditions of release bY VTC.

         3.       Sentencingffenalties. Defendant agrees to be sentenced on the charges described

 above. Defendant understands that the penalties that are applicable to the charges described

 above are as follows:

                  A.     A.   maximum prison term of 10 years:

                  B.      A maximum tine of $250,000;
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              C.      A mandatory special assessment of $100.00 for each count of conviction
                      which Dei'endant agrees to pay at or before the tirne that he enters a guilty
                      plea: and

               D.      A term of supervised release of nct milre than three years- Defendant
                       understands ihat his failure to comply with any of the conditions of
                       supervised release may result in revocation of supervised release.
                       reiuiring Defendant to serr,'e up to two additional years in prison for any
                       such revocation of supervised release pursuant to 18 U.S,C" $ 3583.

                                                                       order Delbndant to pay
In addition to the other penalties provided by law, the Court may also

                                                                              3663 of $ 3663A'
restitution ro rhe victim or victirns of the otfense, purs$ant to 1B U.S.C. $

       4.      Version of the Oflbnse. Defendant adrnits that he is. in tact" guilty of the offense

described in paragraph   l,   above, to which he is agreeing to plead guilty. Defenda:rt and the

                                                                                            of facts
United Srates agree to the statement of i'acts provided below and agree that this statement

is sufficient to provide a tactual basis fbr his plea of guilty to the charge described in this

agreement but is not meant tn be a complete recitation o{ all fac.ts relevatrt t0 the underl,ving

criminal conduct or all facts known to either party that relate to that conduci.

        From on or abgut January" 2A,2021untii January 30, 2021, in the District of &{aine. the
        defendant, knou,ing that he had previously been convicterl of a crime punishable by
                                                                                            a

        term exceeding one year, specifically:

                r   Felony Violation of a Protective Order, Dccket F02B-CR16-0290873-S. in the
                    Bridgeport. Connecticut Superior Court, judgment having entered on
                    December 22,2016-

        knowingl,v possessed, in and affecting commerce, ammunition, specificaily: 50
                                                                                      rounds          of
        Winchester 5.55 caliber ammunition: 50 rounds of lrederai .40 caliber ammunitir:n; 20
                                                                                       9mm
        rounds of Sig Sauer 300 Blackout caliber ammunition; and 20 rounds of Nosler
        caliber ammunition.

         Maine Military Supply ('"MMS") is an Army,&iavy retail store in Hoiden, Maine that
                                                                                                 is
                                                                                         gear, guns,
         open to the public and specializes in military surplus items including tactical
         and ammunition. lvIM{records the name of the purchaser listed on the
                                                                                   creditldebit
         card for every creditldebit card purchase at its store'
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                                                                               in 2021 is as
     A summarl, r:f the Mil{S oeditidebit card transactions ftrr the defendant
     follows:

              ,   On January 20, 2021. Phillips purchased 50 rounds
                                                                    of Winchester 5.55 caliber
                  amrnunition.

              .   On JanuarJ' ZZ,ZAZl,Phillips pwchased 50 rounds of Winchester
                                                                                 5.56 caliber
                  ammunition. AK rifle rnagazine, and an AR-15 type rifle stock.

              .   On January 30,2A21, Phillips purchased 50 rounds of Federal
                                                                              .40 caliber
                                                                          ammunitio*,   20
                  ammunition, 20 rounds of sig-Sror.300 Blackout caliber
                  rounds of Nosier 9mm calibei ammunition, and three (3) AK magazines'

                                            slore. For each transaction listed above,
      I\.1MS maintains security video for its
                                                                                   and leaving
      the defendant can be ,.in *n the security video purchasing the ammunition
      the store possessing the arnmunition'

                                                                                 state of Maine
      The ammunition purchased by the defendant was not manutbctured in the
                                                                present in the state of Maine.
      and would have had to travel in interstate commerce to be

      The defendant has a previous conviction fbr Felony Violation of a Protective Order.
                                                                                     judgment
      Docket F02B-CR1O*:gOg:f -S, in the Bridgeport, Connecticut Superior Court,
      ha'ing entered on Decemb er 22.2016. The defendant was represented by counsel during
      this matter.

      If this case had proceeded to trial, the governmenti.vould have called personnel liom
                                                                                         video.
       MMS in order to admit the debiticredit card transaction receipts and the security
                                                                           government would
       The government rvould also call an ATF nexus expert. Finally, the
       admii a certified c'py of the defbndant's fblony conviction"

       5.   Agreements Regarding $entenqing. The pa*ies agree to make the following non-

binding recommendatiCIns as to sentencing:

                                                                             has accepted
       The parties agree ro recommend that the Court tind that the Defendant

                                                                                 the Defendant's
responsibiiity for the offenses of conviction, and tirat the Court should reduce

Adjusted Otfense Level by three levels undsr U.S.S.C. $ iEl.1. The
                                                                   Government reserv'es the


right not to recommend a reduction under U.S.S.C. $ 381.1     i{   at an,v time between his execution

                                                                      a camplete t'actual basis tbr
of this Agreement and sentencing, the Det'endant: (a) fails to arJmit
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                                                     in the off'ense of conviction; (c) engages ln
the plea; (b) fails to rruthfully admit his c.onduct

conduct w-hich results in an adjustment under
                                              u.s.s.G. $ 3C 1.1; (d) falsely denies or frivolously

                                                  is accountable under        u.s's'G. $ 1B 1'3 or
conrests relevant conduct tbr which the Defendant

                                                      or (e) engages in new criminal conduct'
previous convicdons that the detendant has sustained:

Detbndant understands that he r*ay not wi:hdraw the
                                                    guilry plea if, for any of the reasons listed

                                              he receive a reduction in oflbnse l-evel fur
above, the Government does not recommend that

acceptance of resPonsibiliry.

                        because the justice system is facing an unprecetlented
                                                                               crisis as a result of the
         in addition,

 COVID-i9 pandemic" the panies also        agree that the govemment    wili r*commend    a three level


                                                                            extraordinary
 variance pursuant to 18 L"S.C. $ 3553(a) and as recognition of Defendant's

 acceptance of responsibilitr, and his lessening the burden on
                                                               the court system by: (a) committing

                                                                                  pleading guiltv
 to plead guilty in advance of the nonnalization of court operations and actually

 and being sentenced on the charge to which he has agreed to
                                                             plead guilty; {b) proceeding by

                                                           with subsequent proceedings    as discussed   in
 vTC   (unless the court suo sponte arders otherwise)

 paragraph 2, above, (c) agreeing to the version of the off'ense set torth in this
                                                                                   Agreement; (d)


  agreeing to be bound by all the tenns of this Agreemenr, specil-tcally
                                                                         including tho:te relating to


  breach and remedy: and (e) waiving appellate rights as rei'erenced
                                                                     below'

                                                                                  anv* of the
          The parties expressly agree and understand that should the Court reject

                                                                 permitted to withdraw his plea          of
  recommendatio*s of the parties, Det'endant will not thereby be

                                                                                impcse any lawful
  guilty. The par-ties agree and understand that the Court has &e discretion ro

  sentence.
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       6"                                 is aware that Title 18. United States Code, Section
                &ppeal Waivers. Defendant

                                                 sentence imposed' Knowing that' Det'endant
3742 affafis a defendant the right to appeal the

waives the right to appeal the following:
                                                                                         conviction in
                A.         Detbnrla,1t's guilty plea and any other espect of Defendaut's
                           the above-caPtioned case: and

                 B"        A sentence of imprisonment that      does not exceed 33 months'


Defendant,s waiver of his right to appear shalr not apply
                                                          to appeals based oa a right that has been

                                                             appiicable to cases on collateral
newly recognized by the Supreme Court and made retroactivety

review.

                                                                                 constitute an
          The number of months mentioned in this paragraph does not necessaril-v

estimate of the sentence that the parties expect      will   be imposed'


          7.     :\ew Criminal Conducr. Defendant agree$ that he will not commil any other

 tederal 0r starc crime.

          g.     Breach and Consequences of Breach. If Dellndant
                                                                 vioiates or taiis to perform


 any obligations under this Agreement ("a breach"), the United States
                                                                      will be released from its

                                                                          recommendations under
 obligations hereunder, inciuding its obligations to rnake any sentencing

 paragraph 5. and ma,v fully prosecute Defendant on all crimisal charges that can he brought

 against Delbndant. With respect to such a proseeution:

                  A.        The Llnited States may use any statemsnt that Defendant rnade pursuant to
                            this Agreement. including statements made during plea discussions, the
                            version of the offense *.it'orttr in Paragraph 4, and plea colloquies, and the
                            t'act that Defendant pleaded guilty, and Defendant hereby rvaives any
                            claim under Rule 4i0 of the Federal Rules of Evidence or Rule I l(f) of
                            the Federal Rules of Criminal Procedure that such statements and guill'
                             piea are inadmissible-
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                                                                                   stafilte of lirnitations
                    B.    Defendant waives any and ali defenses based on the
                                                                                            on the date
                          rn'ith respect t0 any such prosecution that is not tirne-harred
                          that this Agreement is signed by the parties'

                                                                 paragraph, the determination       of
If rhe United   States chooses to exercise its rights under this

                                              be made by the court upon a& appropriate
whether Defendant has commiued a breach sharl
                                                                                        to establish
m'tion. In a proceecling      on such motion, the {"lnited states shall have the burden

Def'endant's breach by a preponderance of the evidence'

        g.          Speedy Trial Waiver. Defbndant agrees to w'aive,
                                                                     and hereby does waive' any and

                                                            18 U.S.C. $$ 3161-64' from the date ol"the
all rights he mighthave under the speedy Trial Act,
                                                      through and including the date upon
execution of rhis Agreement and continuing thereafter

                                                                         Defendant has breached
 which sentence is imposerJ. ln the event that the Court determines that
                                  paragraph     I of this Agreement,    then the n'aiver described in this
 this Agreernent, as set tbrth in
                                                                                       that such
 paragraph shall continue through and including the date on which the court determines

 a breach has occurred. Det'endant expressly consefits
                                                       to the entry of an order by ttre Court'


 excluding such periods of time from such consideration.
                                                                                      the united states i*
         10.         Forieiture. Det'endant agrees to waive anv clairn to, and assist

                                                     propertv that may be subject to ibrtbiture to the
 eil'ecting the forfeiture or other transfer of* any

                                                               but not limited to. the follor.ving
  united states under any law of the united srares, including,
                                                           50 rounds oIFedera] .40 caliher
  assets: 50 rounds of winchester 5.56 cariber ammunition;

                                                          ammunition; and 20 rounds r:f Nosler
  ammunition; ?0 rounds of sig sauer 300 Blackout caliber

  9mm caliber ammuniticn.
                                                                             supersedes any           prior
          11    .   Validir.v* of Other Agreemen:s; Signat$e. This Agreement

                                                  this ol'fice ;urd Defendant' How'ever' in the
  understandings, promises, or conditions between
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                                                                             his guiity plea entered
           Detendant  fails  to enler guilry plea or is allowed to withdraw
event that
                                                                          this Agreement. then any
            and the court   determines  that Defendant has not breached
hereunder,
                                                                             understandings.
                              parties shall remain i,, effect. No additional
protTer agreement between the

                                             unless in writing and signed by
                                                                               all pariies' The
                        wilr be entered into
promises, or conditions
                                                                                               of this
                        in the $pace designated  signifies his full and voruntary acceptance
signature of Defendant

 Agreement.

                                             carefully revier*ed every part of it'
                                                                                   i understand it
         I have read this Agreement and have
 and I have voluntarily agreed
                               to it"



 o*, C-?)-?0?J                                                  PHILLIPS.



          tr            foTDAVIDP}IlLLlp$'lhavecarefullyreviewedsverypartofthis
               am iegal eounsel                                    decisir:n to enter
                       pHILLIps. To my r.no*i*Jgr, DAVTD PHILLIPS'
  Agreement with DAVID
                                  infurmed and voluntar)' one'



                                                     Attorney fr.;r Defendant

                                                     Donald E" C
           F$R THE UNITED STATES:
                                                     Acting [Jni


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                                                      A56istant U"S. AttorneY



                                       Approved:
                                                      .loel C
                                                                        istant U.S. A



    Revised March 1, 2021
